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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE


In re
                                                                 Chapter 11
Lordstown Motors Corp., et al., 1
                                                                 Case No. 23-10831 (MFW)

                                        Debtors.                 (Jointly Administered)


                                      CERTIFICATE OF SERVICE

      I, Michael Villa, depose and say that I am employed by Kurtzman Carson Consultants LLC
(KCC), the claims and noticing agent for the Debtors in the above-captioned case.

        On March 4, 2024, at my direction and under my supervision, employees of KCC caused
to be served the following documents via Electronic Mail upon the service list attached hereto as
Exhibit A; and via First Class Mail upon the service list attached hereto as Exhibit B:

    •    Order Granting Debtors’ Motion to Waive Page Limitation Regarding Debtors’
         Memorandum of Law in Support of Confirmation of Third Modified First Amended
         Joint Chapter 11 Plan of Lordstown Motors Corp. and its Affiliated Debtors [Docket
         No. 1053]

    •    Order (I) Authorizing the Assumption of Certain Executory Contracts, (II) Fixing
         Cure Costs in Connection Thereto, and (III) Granting Related Relief [Docket No.
         1054]

        Furthermore, on March 4, 2024, at my direction and under my supervision, employees of
KCC caused to be served the following document via Electronic Mail upon the service list attached
hereto as Exhibit C; and via First Class Mail upon the service list attached hereto as Exhibit D:

    •    Order Granting Debtors’ Motion to Waive Page Limitation Regarding Debtors’
         Memorandum of Law in Support of Confirmation of Third Modified First Amended
         Joint Chapter 11 Plan of Lordstown Motors Corp. and its Affiliated Debtors [Docket
         No. 1053]


                                         (Continued onto Next Page)


1
         The Debtors and the last four digits of their respective taxpayer identification numbers are: Lordstown
Motors Corp. (3239); Lordstown EV Corporation (2250); and Lordstown EV Sales LLC (9101). The Debtors’
service address is 27000 Hills Tech Ct., Farmington Hills, MI 48331.
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       Furthermore, on March 4, 2024, at my direction and under my supervision, employees of
KCC caused to be served the following document via Electronic Mail upon the service list attached
hereto as Exhibit E; and via First Class Mail upon the service lists attached hereto as Exhibit F
and Exhibit G:

   •   Order (I) Authorizing the Assumption of Certain Executory Contracts, (II) Fixing
       Cure Costs in Connection Thereto, and (III) Granting Related Relief [Docket No.
       1054]

Dated: March 8, 2024
                                                    /s/ Michael Villa
                                                    Michael Villa
                                                    KCC
                                                    222 N Pacific Coast Highway, 3rd Floor
                                                    El Segundo, CA 90245
                                                    Tel 310.823.9000




                                               2
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                    Exhibit A
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                                                                          Exhibit A
                                                                   Core/2002 Service List
                                                                  Served via Electronic Mail



                Description                            CreditorName                     CreditorNoticeName                              Email
                                                                                                                      daniel.guyder@allenovery.com;
                                                                                                                      bradley.pensyl@allenovery.com;
 Counsel to Hon Hai Precision Industry                                                                                chris.newcomb@allenovery.com;
 Co., Ltd. (a/k/a Hon Hai Technology                                              Daniel Guyder, Bradley Pensyl,      justin.ormand@allenovery.com;
 Group), Foxconn EV Technology, Inc.,                                             Christopher Newcomb, Justin         joseph.badtke-berkow@allenovery.com;
 Foxconn EV Property Development LLC,                                             Ormand, Joseph Badtke-Berkow,       jacob.herz@allenovery.com;
 and Foxconn EV System LLC                 Allen & Overy LLP                      Jacob R. Herz, Robin Spigel         robin.spigel@allenovery.com
 Counsel to Hon Hai Precision Industry
 Co., Ltd. (a/k/a Hon Hai Technology
 Group), Foxconn EV Technology, Inc.,                                                                                 noah.brumfield@allenovery.com;
 Foxconn EV Property Development LLC,                                             Noah Brumfield, Patrick Pearsall,   patrick.pearsall@allenovery.com;
 and Foxconn EV System LLC                 Allen & Overy LLP                      Michael Modesto Gale                michael.modestogale@allenovery.com
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 Corp.                                     Austria Legal, LLC                     Matthew P. Austria                  maustria@austriallc.com
 Committee of Unsecured Creditors          Barry L. Leonard & Co. Inc.            Attn: Kim Parsons                   kim@trans-machine.com
 Top 30 and Committee of Unsecured
 Creditors                                 Barry L. Leonard and Company Inc.      dba Trans Machine Technologies Barry@trans-machine.com
 Counsel to Edward Hightower and Adam Benesch Friedlander Coplan &                Jennifer R. Hoover, Steven L.  jhoover@Beneschlaw.com;
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 Counsel to Benjamin Hebert and Atri Amin
 on behalf of themselves and similarly                                                                                greg.varallo@blbglaw.com;
 situated stockholders of Lordstown Motors Bernstein Litowitz Berger &            Gregory V. Varallo, Glenn R.        glenn.mcgillivray@blbglaw.com;
 Corp. f/k/a DiamondPeak Holdings Corp. Grossmann LLP                             McGillivray, Daniel Meyer           daniel.meyer@blbglaw.com
 Counsel to Benjamin Hebert and Atri Amin
 on behalf of themselves and similarly                                            Jeroen van Kwawegen, Thomas         jeroen@blbglaw.com;
 situated stockholders of Lordstown Motors Bernstein Litowitz Berger &            G. James, Margaret Sanborn-         Thomas.James@blbglaw.com;
 Corp. f/k/a DiamondPeak Holdings Corp. Grossmann LLP                             Lowing                              Margaret.Lowing@blbglaw.com
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 Insurance Company                           Connolly Gallagher LLP                Jeffrey C. Wisler                  jwisler@connollygallagher.com
 Official Committee of Equity Security
 Holders                                     Crestline Management, L.P.            Attn: Shaun McGowan                summitcompliance@crestlineinc.com
 Bankruptcy Counsel to the to the
 Securities Litigation Lead Plaintiff George
 Troicky                                     Cross & Simon, LLC                    Christopher P. Simon, Esq.         csimon@crosslaw.com
                                                                                                                      attorney.general@state.de.us;
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 DE State Treasury                         Delaware State Treasury                                                    statetreasurer@state.de.us
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 Attorney General of FL (emp operations)   Florida Attorney General               Attn Bankruptcy Department        oag.civil.eserve@myfloridalegal.com
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 Foxconn                                   Foxconn EV Technology, Inc.            Yu                                stevenyu@foxconn.com
                                                                                  c/o Hon Hai Precision Industry
 Foxconn                                   Foxconn Ventures Ptd. Ltd.             Co., Ltd. Attn Jerry Hsiao        jerry.hsiao@Foxconn.com
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 Foxconn                                   Hon Hai Precision Industry Co., Ltd    Attention Jerry Hsiao             jerry.hsiao@Foxconn.com
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 Adam Kroll                                Katten Muchin Rosenman LLP             Rotenberg, Cindi M. Giglio        cgiglio@katten.com
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 Hash, Andrew Richardson, and Mark                                                Richard S. Cobb, Joshua B.          cobb@lrclaw.com;
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                                                                            Exhibit A
                                                                     Core/2002 Service List
                                                                    Served via Electronic Mail



                 Description                              CreditorName                      CreditorNoticeName                            Email
 Bankruptcy Counsel to the to the                                                                                       metkin@lowenstein.com;
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 Counsel to GAC R&D Center Silicon           Miller, Canfield, Paddock and Stone,
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 Equity Security Holders                     Morris James LLP                        Eric J. Monzo, Brya M. Keilson  bkeilson@morrisjames.com
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 on behalf of themselves and similarly
 situated stockholders of Lordstown Motors
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 situated stockholders of Lordstown Motors                                           Gustavo F. Bruckner, Samuel J.     sjadams@pomlaw.com;
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                                                                   Core/2002 Service List
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               Description                            CreditorName                      CreditorNoticeName                       Email
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 Counsel to Elaphe Propulsion
 Technologies, Ltd                         Warner Norcross + Judd LLP             Stephen B. Grow               sgrow@wnj.com
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 in-Possession                           White & Case LLP                         Brown, Fan B. He               fhe@whitecase.com
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 Debtors-in-Possession                   Womble Bond Dickinson (US) LLP           Patterson                      morgan.patterson@wbd-us.com
                                                                                                                 bankfilings@ycst.com;
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 John LaFleur, and Rich Schmidt            LLP                                    Sean M. Beach, Shane Reil      sreil@ycst.com




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                    Exhibit B
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                                                                                                            Exhibit B
                                                                                                      Core/2002 Service List
                                                                                                    Served via First Class Mail



            Description                   CreditorName                      CreditorNoticeName                 Address1                    Address2             Address3            City        State     Zip      Country
Committee of Unsecured Creditors Barry L. Leonard & Co. Inc.          Attn: Kim Parsons                 920 Brenner St                                                        Winston-Salem     NC    27101
Top 30 and Committee of          Barry L. Leonard and Company         dba Trans Machine
Unsecured Creditors              Inc.                                 Technologies                      Barry Leonard               920 Brenner St                            Winston-Salem     NC    27101
Attorney General of CA (business
operations)                      California Attorney General          Attn Bankruptcy Department        1300 I St., Ste. 1740                                                 Sacramento        CA    95814-2919
Official Committee of Equity                                                                            201 Main Street, Suite
Security Holders                 Crestline Management, L.P.           Attn: Shaun McGowan               1100                                                                  Fort Worth        TX    76102
                                                                                                        Attn Bankruptcy
Delaware State AG and DOJ              Delaware Dept of Justice       Attorney General                  Department                  Carvel State Building   820 N French St   Wilmington        DE    19801
DE Secretary of State                  Delaware Secretary of State    Division of Corporations          Franchise Tax               PO Box 898                                Dover             DE    19903
                                                                                                        820 Silver Lake Blvd.,
DE State Treasury                      Delaware State Treasury                                          Suite 100                                                             Dover             DE    19904
Attorney General of FL (emp
operations)                            Florida Attorney General       Attn Bankruptcy Department        PL-01 The Capitol                                                     Tallahassee       FL    32399-1050
                                                                                                                                    Grand Pavilion, Hibiscus 802 West Bay                                          Cayman
Foxconn                                Foxconn (Far East) Limited                                       P.O. Box 31119              Way                      Road             Grand Cayman            KY1-1205     Islands
                                                                      Attention: Jerry Hsiao and        4568 Mayfield Road, Suite
Foxconn                                Foxconn EV Technology, Inc.    Steven Yu                         204                                                                   Cleveland         OH    44121
                                                                      c/o Hon Hai Precision Industry
Foxconn                                Foxconn Ventures Ptd. Ltd.     Co., Ltd. Attn Jerry Hsiao        No. 66, Zhongshan Road Tucheng Industrial Zone Tucheng District       New Taipei City         23680        Taiwan
                                                                                                                               Grand Pavilion, Hibiscus 802 West Bay                                               Cayman
Foxconn                                Foxteq Holdings Inc.                                             P.O. Box 31119         Way                      Road                  Grand Cayman            KY1-1205     Islands
                                                                                                                               Grand Pavilion, Hibiscus 802 West Bay                                               Cayman
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operations)                            Georgia Attorney General        Attn Bankruptcy Department       40 Capital Square, SW                                                 Atlanta           GA    30334-1300
                                       Hon Hai Precision Industry Co.,
Foxconn                                Ltd                             Attention Jerry Hsiao            No. 66, Zhongshan Road Tucheng Industrial Zone Tucheng District       New Taipei City         23680        Taiwan
Attorney General of IL (emp
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IRS                                    Internal Revenue Service       Attn Susanne Larson               31 Hopkins Plz Rm 1150                                                Baltimore         MD    21201
                                                                      Centralized Insolvency
IRS                                    Internal Revenue Service       Operation                         PO Box 7346                                                           Philadelphia      PA    19101-7346
Financial Advisor to the Official
Committee of Equity Security                                                                            1700 Broadway, 19th
Holders                                M3 Advisory Partners           Robert Winning                    Floor                                                                 New York          NY    10019
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Attorney General of NC (emp
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US Trustee for District of DE          Trustee Delaware                Benjamin Hackman                 844 King St Ste 2207        Lockbox 35                                Wilmington        DE    19801
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Official Committee of Equity                                                                                                                                                                                       United
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                                                                                              Core/2002 Service List
                                                                                            Served via First Class Mail



            Description                   CreditorName              CreditorNoticeName                  Address1                 Address2                Address3               City   State      Zip       Country
Top 30 and Committee of
Unsecured Creditors              SA Automotive LTD             Shar Hedayat                     1307 Highview Dr                                                       Webberville     MI      48892
Committee of Unsecured Creditors SA Automotive Ltd.            Attn: Katherine Diederich        1307 Highview Drive                                                    Webberville     MI      48892
                                 Securities & Exchange                                                                    100 Pearl St., Suite 20-
SEC Regional Office              Commission                    NY Regional Office               Regional Director         100                                          New York        NY      10004-2616
                                 Securities & Exchange                                                                                               1617 JFK
SEC Regional Office              Commission                    PA Regional Office               Regional Director         One Penn Center            Boulevard Ste 520 Philadelphia    PA      19103
                                 Securities & Exchange
SEC Headquarters                 Commission                    Secretary of the Treasury        100 F St NE                                                            Washington      DC      20549
Top 30 and Committee of
Unsecured Creditors              Superior Cam Inc              John Basso                       31240 Stephenson Hwy                                                   Madison Heights MI      48071
Attorney General of TX (emp
operations)                      Texas Attorney General        Attn Bankruptcy Department       300 W. 15th St                                                         Austin          TX      78701
US Attorney for District of      US Attorney for District of
Delaware                         Delaware                      US Attorney for Delaware         1313 N Market Street      Hercules Building                            Wilmington      DE      19801




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                    Exhibit C
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                                                        Exhibit C
                                       Objecting & Responding Parties Service List
                                                Served via Electronic Mail

             Description                    CreditorName             CreditorNoticeName               Email
Interested Parties - Current D&Os      Dechert LLP                                        shmuel.vasser@dechert.com
Interested Parties - ERND              ERND                       Jeanne Cohn             Jeanne.Cohn@usdoj.gov
Counsel to Auto Motive Power, Inc.                                Schuyler G. Carrol;     scarroll@loeb.com;
(d/b/a AMP)                            Loeb & Loeb LLP            Noah Weingarten         nweingarten@loeb.com
Interested Parties - NHTSA             NHTSA                      Ellen Slights           ESlights@usdoj.gov
Counsel to Auto Motive Power, Inc.     Pashman Stein Walder
(d/b/a AMP)                            Hayden, P.C.               John W. Weiss           jweiss@pashmanstein.com
Affected Claimant                      Rahul Singh                                        Email Redacted
Interested Parties - Current D&Os
(Others)                               Sullivan & Cromwell LLP                            oswelll@sullcrom.com
                                                                                          SReil@ycst.com;
Interested Parties - Former Directors Young Conaway Stargatt &                            SBEACH@ycst.com;
and Officers (DiamondPeak)            Taylor LLP                                          RLamb@ycst.com




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                    Exhibit D
                                       Case 23-10831-MFW          Doc 1085     Filed 03/08/24      Page 13 of 19
                                                                     Exhibit D
                                                     Objecting & Responding Parties Service List
                                                             Served via First Class Mail

                      Description               CreditorName          CreditorNoticeName             Address1              City    State    Zip
           Counsel to Auto Motive Power,                            Schuyler G. Carrol; Noah
           Inc. (d/b/a AMP)                Loeb & Loeb LLP          Weingarten                 345 Park Avenue          New York   NY      10154
           Counsel to Auto Motive Power,   Pashman Stein Walder                                1007 North Orange
           Inc. (d/b/a AMP)                Hayden, P.C.             John W. Weiss              Street, 4th Floor #183   Wilmington DE      19801
           Affected Claimant               Rahul Singh                                         Address Redacted




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                    Exhibit E
                     Case 23-10831-MFW        Doc 1085      Filed 03/08/24    Page 15 of 19
                                                    Exhibit E
                                       Contract Counterparties Service List
                                            Served via Electronic Mail

                       CreditorName          CreditorNoticeName                Email
               ETRADE Financial Corporate   John Bersin, Managing
               Services                     Director              john.bersin@morganstanley.com
               TERIS-Phoenix, LLC           Andrea Chase          achase@spencerfane.com
               TERIS-Phoenix, LLC           c/o Jim Urdanick, CFO jim.urdanick@repariodata.com




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                    Exhibit F
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                                                           Contract Counterparties Service List
                                                               Served via First Class Mail

                             CreditorName        CreditorNoticeName         Address1              Address2       City     State    Zip
                    American Stock Transfer &
                    Trust Company, LLCd/b/a
                    Equiniti Trust Company, LLC                      6201 15th Avenue                        Brooklyn     NY      11219
                    Complete Discovery Source,                       250 Park Avenue,
                    Inc.                                             Floor 18                                New York     NY      10177
                    E*TRADE Financial Corporate
                    Services, Inc.                                   3 Edison Drive                          Alpharetta   GA      30005
                    ETRADE Financial Corporate John Bersin, Managing 1478 Stone Point
                    Services                    Director             Drive, 5th Floor                        Roseville    CA      95661
                    FTI Consulting Technology                        16701 Melford Blvd,
                    LLC                                              Suite 200                               Bowie        MD      20715
                                                                     11808 Miracle Hills
                    Intrado Digital Media, LLC                       Drive                                   Omaha      NE        68154
                    Paylocity Corporation                            1400 American Lane                      Schaumburg IL        60173
                                                                     350 E Main Street,
                    Skynet Innovations                               Suite 200                              Batavia       OH      45103
                                                                                                1000 Walnut
                    TERIS-Phoenix, LLC            Andrea Chase            Spencer Fane LLP      St Ste 1400 Kansas City   MO      64106
                                                                          11333 N. Scottsdale
                    TERIS-Phoenix, LLC              c/o Jim Urdanick, CFO Road, Suite 294                    Scottsdale   AZ      85254
                                                                          1501 Energy Park
                    Toppan Merrill Bridge                                 Drive                              St. Paul     MN      55108
                                                                          1501 Energy Park
                    Toppan Merrill LLC                                    Drive                              St. Paul     MN      55108
                                                                          23 Public Square,
                    Vestige Digital Investigations                        Suite 250                          Medina       OH      44256
                    Vestige Ltd dba Vestige Digital                       23 Public Square,
                    Investments                                           Suite 250                          Medina       OH      44256




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                    Exhibit G
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                                                                    Exhibit G
                                                             Lienholders Service List
                                                            Served via First Class Mail

                                    CreditorName                     Address1                    City State     Zip
                           COMPETITION ENGINEERING, INC     975 COMSTOCK STREET              MARNE    MI    49435-8751
                           HEWLETT-PACKARD FINANCIAL                                         BERKELEY
                           SERVICES COMPANY                 200 CONNELL DRIVE                HEIGHTS  NJ    07922
                           PETERSON JIG AND FIXTURE, INC.   301 ROCKFORD PARK DR. NE         ROCKFORD MI    49341
                           PETERSON JIG AND FIXTURE, INC.   PO BOX 641                       ROCKFORD MI    49341




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